
68 So.3d 913 (2011)
Bradley WOMACK, Appellant,
v.
Dawn LARUE, individually, and as parent and natural guardian of Devan J. Larue, a minor, Appellee.
No. 2D10-1502.
District Court of Appeal of Florida, Second District.
May 13, 2011.
Shea T. Moxon of Swope Rodante, P.A., Tampa, for Appellant.
Stuart J. Freeman of Brasfield, Freeman, Goldis &amp; Cash, P.A., St. Petersburg, for Appellee.
KELLY, Judge.
Bradley Womack appeals a final summary judgment entered in favor of Dawn Larue, individually and as parent and natural guardian of Devan Larue. After a thorough review of the record, we conclude that the trial court correctly found that there were no genuine issues of material fact to be determined and that Ms. Larue was entitled to summary judgment as a matter of law. Accordingly, we affirm.
DAVIS and BLACK, JJ., Concur.
